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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


TAMMY KITZMILLER; BRYAN AND                      :
CHRISTY REHM; DEBORAH FENIMORE                   :
AND JOEL LIEB; STEVEN STOUGH;                    :
BETH EVELAND; CYNTHIA SNEATH;                    :
JULIE SMITH; AND ARALENE                         :
("BARRIE") D. AND FREDERICK B.                   :
CALLAHAN,                                        :
                                                 :      CIVIL ACTION
                                 Plaintiffs      :
                                                 :
                      vs.                        :      No. 4:04-CV-2688
                                                 :
DOVER AREA SCHOOL DISTRICT;                      :      (JUDGE JONES)
DOVER AREA SCHOOL DISTRICT                       :
BOARD OF DIRECTORS,                              :
                                                 :      (Filed Electronically)
                               Defendants        :


                                       ORDER

             AND NOW, this ________ day of January 2006, the stipulation of the

parties regarding plaintiffs’ application for fees and nontaxable expenses and a bill

of costs (Doc. ____) is hereby approved and so ordered.

                                       BY THE COURT:



                                       ___________________________
                                       John E. Jones III, Judge
